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IN THE UNITED sTATEs DISTRICT CoURT FoR THE C`
WESTERN DISTRICT oF TENNESSEE 05 JUL 25 H ;g, 39
MEMPHIS DIVISION
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PHIL HANNAH, ) CL§R;"<. ii$ it§l“f(ii‘)iji]%t;a
) *”='»@ f` l‘:z'impz~zs
Plaimiff, ) No. 04-2897_13\/
)
vs. )
)
AMERICAN REPUBLIC INSURANCE )
CoMPANY, )
)
Defendant. )

 

ORDER AMENDING SCHEDULING ORDER

 

Upon Consideration of the parties' Joint Motion to Arnend the Scheduling Order filed
With the Court on July 18, 2005, IT IS HEREBY ORDERED AND ADJUDGED that the
Scheduling Order of March 24, 2005 be amended as follows:

l. That Defendant American Republic lnsurance Company Will file and serve the

Administrative Reeord on or before August l, 2005 ;

2. That the stay on discovery Should be lifted as to Plaintiff Phil Hannah's Section
1132 claim;
3. That the dispositive motion and response deadlines for the Section 1132 claim

remain the same - September 15, 2005 and October 15, 2005, respectively; and,
4. That the upcoming discovery and dispositive motion deadlines on the Section

1140 claim be extended should the pending Summary Judgment motion be denied.

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U.S. Magistrate Judge Diane K. Vescovo

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Notice of Distribution

This notice confirms a copy of the document docketed as number 39 in
case 2:04-CV-02897 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

 

 

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Honorable .l. Breen
US DISTRICT COURT

